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    EXHIBIT A
     Case 1:17-cv-00643-RJJ-RSK ECF No. 1-1 filed 07/17/17 PageID.6 Page 2 of 8




                                                                                 I

                                        STATE OF MICHIGAN                        '
              IN THE 14tb C CUlT COURr FOR 1HE COUNTY OF MU~                              GON
                                  ~I                                             '1       .
                                                                                 I    I

NIGEL THOMAS,                                              Case no.   2017 -002808-CL

                 Plaintiff,                                       Timothy G. Hicks
v.                                                         HOD.   P35198

WINGS TEN, INC dba
BUFFALO Wll..D WINO,                                       COMPLAINT

                 Defendant.

                    .          !
Joshua S. EldenBrady (P73207)
Vincent E. Carlson. and Ass~iates. PLC.
Attorney for the Plaintiff     'I


2320 Lake Ave
North Muskegon, MI 49445 !
231-726-4357                  I
                                             COMPLAINT

         Plaintiff Nigel Thomas, through his attorney Joshua S. EldenBrady hereby states:
                              I
                                         Jurisdiction and Venue
                              I
     1. This is an action for violations
                              I
                                          of the Equal Employment Opportunities Act 42 U.S. Code
     § 2000e et seq and the Elliot Larson Civil Rights Act, MeL 37.2102 et seq ..

     2. The amount c1aimed    lin this case exceeds   $25,000.
                              I
                              of
     3. Plaintiff is a citizen , the United States and the State of Michigan and resides in
     Muskegon County Micrgan:

     4. Defendant Wings Tep, INC oorporation doing business in Muskegon County. Michigan.

     5. Plaintiff is an emp/o),ee as defined by the both acts.
                              I
                              I
     6. Defendant is an employer as defined by both acts.

     7. The events giving riSr to this cause of action occwred within Muskegon County Michigan.

                              ,
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                                     Background Facts

8. Plaintiff became employed by Defendant as a Line Cook on or about August 2011.

9. Plaintiff is a 42 year old African~American male.

 10. In July 2015, Defendant employed new management.

 11. Plaintiff was employed full time Wltil August of 2015.

12. In august 2015 Plaintiff moved to 3 days a week due to being denied raises and
management not scheduling his perfonnance reviews.
13. In or about June of2016, Plaintiff was accused of making white female servers
uncomfortable, but no explanation of what behavior or actions made them uncomfortable.

14. On Thursday, July 14,2016, Plaintiff was terminated from his employment with
Defendant.

 15. At the time, Plaintiff believed he was tenninated for leaving a dirty workstation at the end
of his shift as he had left his empty water bottle at his station.

 16. Plaintiff found out upon receiving his tennination letter that he was being accused of
drinking on the job.

 17. At no point did Plaintiff consume alcohol on the job while working for Defendant.



               COUNT I - DIFFERENTIAL             TERMS OF EMPLOYMENT

18. Plaintiff was repeatedly passed up for raises and had performance reviews skipped.

19. Similarly situated white employees received raises during that same time.
20. Plaintiff never received a negative performance review nor was there any other reason for
the disparity in pay.
21. The only negative comment received by Plaintiff prior to his termination was that he was
making white female servers uncomfortable. No explanation of specific behavior was ever
cited.
                        COUNT I1- WRONGFUL TERMINATION

22. Plaintif'fwas tenninated on July 14,2017.
23. Prior to his termination, Plaintiffw8s not suspended as required by company policy.
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   24. Prior to his termination no investigation was conducted as required by company policy.
   25. A similarly situated white employee who was initially terminated for drinking was later
   given a management position with the company.

   26. PlaintiffwBS never shown the surveillance video, nor was he given any opportunity to
   present an explanation of what occurred that day.

   27. By tellDinating Plaintiff without cause and based on allegations on whlch similarly
   situated white employees received preferential treatment, Defendant violated both the Equal
   Employment Opportunities and the Elliot Larson Civil Rights Act.


THEREFORE, PLAINTIFF REQUESTS judgment against Defendant as follows:

   1. Legal relief

      a. Compensatory damages in whatever amount he is found to be entitled.

      b. Punitive damages in whatever amount he is found to be entitled.

      c. An award of interests, costs, and reasonable attorney fees and expert witness fees.

      d. Whatever other legal relief appears appropriate at the time of final judgment.

  2. Equitable relief

      a. An order reinstating Plaintiff to an appropriate position with Defendant.

      b. An injunction prohibiting any further acts of wrongdoing, discrimination, or
      retaliation.

      c. Whatever other equitable relief appears appropriate at the time of fmal judgment.


                                           Jury Demand

      Plaintiff, Nigel Thomas, demands a trial byjury.
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                                          Verified Statement

         I, Nigel Thomas, deolare that tbis complaint has been examined by me and that its contents are
true to the best of my knowledge, infonnation, and belief, and that it is not being made for any improper
purpose.

~jL~tVlI§                                        Dated,     WfiJ C"]
                 Case 1:17-cv-00643-RJJ-RSK ECF No. 1-1 filed 07/17/17 PageID.10 Page 6 of 8

..May2517, 09:10a                         B&BHousehold                                                                                        2317555625




                                 CHARGE OF DISCRIMINATION                                                                       Charge Presented To:                        Agency(les) Charge No(s):
                        This 10"'" Is allocled by l!le Pd~.cy Ac:I of 1974. See o'l<llglcd P,ivacy AcI
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                                                                                                                                    o FEPA
                                                                                                                                    00        EEOC                                471-2016-03704
                                                                            Michigan Department                        Of Civil Rigl1ts                                                        and EEOC
                                                                                             SIal<> 0110:41 Agenoy.1I any
     Name (indieS/II Mr.. M5 •• Mrs.)

                                                                                                                                          l
                                                                                                                                              Home Phone (Incl. An>a COd,,)                  Cal e 01 Sinh
     Mr. Nigel Thomas                                                                                                                             (231) 268-5480                           11-14-1914
    Street Addle"                                                                                    CIJy, S:ate ana ZIP Code
    2337 Dyson Street, Apt. B, Muskegon Heights. MI49444


    Named 19the Employer, Labor Organllation. EmploymontAgoncy, Apprenllcoshlp Comm~lee. or Slate or local Govelnmllnt Agency Thall Bellllve
    Discriminated Against Me or OUters. (If moro ",IlUMo, Iisl underP/IRT/CULARS below.)
    Name

    BUFFALO WILD WINGS
                                                                                                No. Etnr.lO')lllC'. Menbelf               I
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                                                                                                                                                                            I       (231)798-4560
    SlreelAddress                                                       .                           cnY;Sla18li11ld      ZIP coilil .
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    5648 South Harvey. Muskegon, MJ 49444

   Name
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   Streel Address                                                                                   Clly. SIa1&aoo ZIP Code



   DISCRIMINATION            BASEO ON (ClHlck applOJHiBle bo¥(UJ.)                                                                                     DATE(S) DISCRIMINATION           TOOK Pt:ACE

     [K] RACE                  o                                                o                    o                                                           Eer1laal                    LaJu~


           oo                                               DSl!X
                                        COLOfl                                            REUOION                     NATIONAl.. ORIGIN                   06-01-2015                      07-14-2016
                        RETALIATION            0            AGE     o       DISABILITY              o
                                                                                                                                                                o
                                                                                                           GENETIC INFORMATION
                                 OrnER     (Specify)                                                                                                                       CONlINUINGACTION
  THE PARTICULARS              ARE (II arJditilJllJI paper II noodll<f, uttaclr eKtnl sheel(ifJ):
     I began my employment with the above-named employer on or about August 18,2011, and was last
     employed as a CookJPrep Cook.

      Beginning In or around June 2016 and continuing untIl on or about JuJy 14,2016. I was paid less than
     slmflarly situated Caucasian employees. Beginning in or around June 2015 and continuing until on or
- ....about July. 1.4, 2016, I was. denied pay raises and perfor.mance r.eYlow~, Meanwhile, 5imllarly sltuata.d
     Caucasian employees were eranted pay raises and performance reviews. On or about JUry 14, Z016, I
     was discharged allegedly for misconduct.

    I believe r was denied equal wages, subjected to different terms and conditions of employment
    relating to pay raIses and performance reViews, and was discharged due to my race (African
    American). in violation otTitle VI! of the Civil Rights Act of 1964, as amended.

 I wan! this Charge filed \OIilhboth the EeOC and tho Slat" or [()CalAgoncy,lI.ony. I                           NOTARY - wnan nlH:tts$8/yfor Slare ,,,d Local Agency R8qul~menl5
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                                           address or phano number ono 11'/11
 cooperate My wah lhem In the processlno 01 my clrllrge In accordance wJlll thOIr
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                                                                                                                J swear or alfinn thai I have read !he abo\le charge and that Itls trult 10
 I declore uO<!erpenally of perjury that the Dbove Ie Irue and COlTect.                                         the beat cf my knowledge. InforrneUon and beUel.
                                                                                                                SIGNATURE OF COMPLAINANT




    f}_-Zl., 11)/£ MtVLI2[                                                                                      5UBSCRlBEO AND SWORN TO BEFORE ME THIS DATE
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         Case 1:17-cv-00643-RJJ-RSK ECF No. 1-1 filed 07/17/17 PageID.11 Page 7 of 8
                                                                                                                           Lt?_~,2 }
 EE~O FQIIJI161(1111e)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                  DISMISSAl. AND NOTICE OF RIGHTS
 To:    Nigel Thomas                                                                       From: Detroit FIeld Office
        2337 Dyson Street. Apt. B                                                                477 Michigan Avenue
        Muskegon Heights, M149444                                                                Room 865
                                                                                                 Detroit. MI 48226



       D                    On behalf of psrson(s) aggrlllv9d whosllidenli/y Is
                            CONFIDENTIAL     (29 CFR§16()1.7(a»)
 EEOC Charge No.                                eeoc Reple:;enlatlve                                                    TelephoneNo.

                                                Colleen  OBrien,
 471-2016-03704                                 Investigator                                                            (313) 226-Z361
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D         The faels alleged In the'charge fall 10 stale a claim under any of the statutes enforced by the EEOC.

       o         Your allegations did not Involve   B   disability as defined by the Americans With OisabillUes Act.

       D         The Respondent employs less Ihan the required number of employees or Is nol otherwise covered by the statutes.

       D         Your charge was not timely fited with EeOC; In other words, you walled too long atter the date(s) of the alleged
                 discrimination to file your charge
                 The EEOC'lssues the following defermlnatlon: l3ased upon lis InvesllgaUon. the EEOC Is unable to conclude that the
                 information obtained establishes \/Iolellons of !he statutes. This does not certIfy that the respondent Is In compIJance with
                 the statutes. No finding Is made as to any olher Issues that might be construed as havIng been raised by this charge.
       D        The EEOC has adopted the findings of the state or local fair employment practices agency that Investigated this charge.

       D         Other (Meny s/ete)



                                                          - NOTICE OF SUIT RIGHTS -
                                                   (SIIII Ihll addlllonalinfarmation   attach9d /0 Ihls form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination        Act, or the Age
Discrimination    In Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you,
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be flied WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Eql.lal Pay Act (EPA): EPA suits must be tiled in federal or state court within 2 years (3 years for willful Violations) of the
alJeged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.




Enclo8ures(s)


cc;       Jean Lanfear
          Human Resources
          BUFFALO WILD WINGS
          13405 W Star Drive, Suite 2
         'Shelby Township. MI 48315
         Case 1:17-cv-00643-RJJ-RSK ECF No. 1-1 filed 07/17/17 PageID.12 Page 8 of 8

                                                                                                            SUMMONS AND COMPLAINT
                                                                  PROOF OF SERVICE                         Case No. 17- 602,eare • C ci
 TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 day-                                     "-
 of expiration on the orderfor second summons. You must make and file your return with the coul                        • 2017-002808-CL
 service you must return this original and all copies to the court clerk.
                                                                                                                 -V" AN • CCR-ROS
                                          CERTIFICATE/AFFIDAVIT OF SERVICE / NONSERVICE
                                                                                                                 -
                                                                                                                 111      •• .
                     111 OFFICER CERTIFICATE                          OR                     AFFIDAVIT OF PROCESS SERVER
    I certify that I am a sheriff, deputy sheriff, bailiff, appointed               Being rst duly sworn, I state that I am a legally competent
    court officer, or attorney for a party (MCR 2.104[A][2]), and                   adult who is not a party or an officer of a corporate party, and
    that:     (notarization not required)                                           that:   (notarization required)

   I served personally a copy of the summons and complaint,
 ❑ I served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
   tog etherwith
                    List all documents served with the Summons and Complaint



                                                                                                                                  on the defendant(s):
 Defendant's name
 cd/war        -*lir pvc...                           Complete address(es) of seryice_
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       CIEs. AG cor)




ID I have personally attempted to serve the summons,and complaint, together with any attachments, on thekl
                                                                                                        .dlowingriefendant(s)
   and have been unable to cornplete service.
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 Defendant's name                                     Complete address(es) of service                                                               r.
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I declare that the statements above are true to the best of my information,                     edge, and belief.


Service fee                                                                     Signature
                    Miles traveled   Mileage fee      Total fee
                                                                                                HOWARD H GHES
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                                                                    (VtlTitle
Subscribed and sworn to before me on                                                                                                    County, Michigan.
                                               Date
My commission expires:                                             Signature:
                              Date                                              Deputy co   clerk/Notary publAN m a n
Notary public, State of Michigan, County of                                                                     ota r P
                                                                                                             Notary         riacscn_oi State
                                                                                                                      apo ublic
                                                                                                                                             of Michigan
                                                                                                             County
                                                      ACKNOWLEDGMENT OF SERVICE                             My Comm Expires
                                                                                                                                         July 08, 2023
I acknowledge that I have receive• service.Of the summons and complaint, together with
                                                                                                              Attachments

                                                                   a   date, time
                                                                       on behalf of
Signature
